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Attomeys for Plaintiffs Wal-Mart Stores, Inc., The Limited, Inc. and
All Similarly Situated Persons

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK.

 

 

 

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WAL-MART STORES, INC., and : CLASS ACTION
THE LIMITED, INC., : COMPLAINT
on Behalf of Themselves and ot AND JURY DEMAND
All Similarly Situated Persons

Plaintiffs, : __ Civ.

v. :

VISA USA, INC. :

Defendant. :

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Plaintiffs Wal-Mart Stores, Inc. ("Wal-Mart") and The Limited, Inc., ("The
Limited") by their attorneys, allege for their complaint, upon knowledge with respect to their

own acts and upon information and belief with respect to all other matters, as follows.

 

 

 
 

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INTRODUCTION
1. Plaintiffs Wal-Mart and The Limited own and operate thousands of retail stores

throughout the United States. Similar to more than three million United States retail
establishments, Wal-Mart and The Limited accept Visa credit cards as a form of payment along
with cash, checks, travelers checks and other plastic credit, debit and “travel and entertainment"
cards.

2. Plaintiffs’ acceptance of each of these forms of payment is voluntary, with the
exception of two. Plaintiffs must accept the so-called "Visa Check" debit card and a similar debit
card called "MasterMoney," issued by members of the Visa and MasterCard bank card
associations. Wal-Mart and The Limited are forced to accept the Visa Check debit card as a
condition of being able to accept the ubiquitous and dominant Visa credit card, without which,
neither they nor virtually any retailer can operate successfully.

3. Wal-Mart and The Limited, on behalf of themselves and a national class of
retailers, who accept the Visa credit card, and are therefore forced to accept Visa Check,
challenge this tying arrangement under the antitrust laws. The tying arrangement forces
members of the class to accept the Visa Check card. The arrangement forces Plaintiffs to pay
supra-competitive, exorbitant and fixed prices for acceptance of this involuntary payment system
and raises the prices paid by all of their retail customers. The arrangement also limits Plaintiffs’
ability to accept and receive the forms of payment which they deem cost effective and efficient
for themselves and their customers.

4. Visa's longstanding and coercive practice of tying Visa Check to the Visa credit
card has now become particularly costly as Visa has embarked upon an aggressive national

advertising campaign for the Visa Check card. ‘The tying arrangement and this campaign has

 

 

 
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‘ resulted in the rapidly escalating use of the Visa Check card and has forced Plaintiffs and Class

members to accept this debit card and pay fees which are supra-competitive, exorbitant and
fixed. The tying arrangement is alleged to violate Sections 1 and 2 of the Sherman Act and the
analogous provisions of the Donnelly Act, New York's antitrust law.

5, Plaintiffs seek declaratory relief, injunctive relief and damages to redress these
violations of federal and state law.

IL.
JURISDICTION AND VENUE

6. This complaint is filed under Section 16 of the Clayton Act, 15 U.S.C. § 26, to
prevent and restrain violations of Sections | and 2 of the Sherman Act 15, U.S.C. §§1 and 2, and
for damages under Section 4 of the Clayton Act, 15 U.S.C. § 15. Claims arising under the
Donnelly Act, New York General Business Law §§ 340-347 are also stated herein. This Court
has jurisdiction of the federal antitrust law claims alleged herein under 28 U.S.C. §§ 1331 and
1337. Jurisdiction of the state antitrust claims is vested in this Court pursuant to the principles of
pendent jurisdiction, in that they arise out of the same operative facts as the federal antitrust
claims.

7. Defendant transacts business and is found in this District. In particular; tens of
thousands of retail establishments located in this District accept the Visa credit card and are
forced to accept the Visa Check plastic debit card. Hundreds of bank members of Visa located in
this District issue and/or “acquire” retail merchant transactions for the Visa credit card and the
Visa Check debit card. The interstate trade and commerce involved and affected by the alleged

violations of the antitrust laws was and is carried on in part within this District. The acts

complained of have had, and will have, substantial anticompetitive effects in this District.

 
 

" Plaintiffs Wal-Mart and The Limited own and operate retail stores in this District. Venue in this

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District is proper under 28 U.S.C. § 1391 and 15 U.S.C. §§ 15, 22 and 26.

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DEFINITIONS

8. As used in this Complaint, the following terms are defined as:

a.

“Automated Teller Machine" ("ATM") is a machine used for banking
services including withdrawals from deposit accourits and/or cash
advances against a line of credit, after access by the account holder using
either a debit card or credit card.

"Point of Sale" ("POS") means a point of sale location for goods or
services such as a retail store, hotel, airline ticket counter, gasoline service
station, etc.

"Electronic Funds Transfer" ("EFT") is a method of direct transfer of
funds by electronic means from one bank account to another using
computer and/or telecommunications.

"Credit Card" is an access device, usually a plastic card, enabling the
holder to (i) effect transactions on credit for goods and services purchased,
which are paid on behalf of the holder by the issuer of such device or (ii)
obtain cash with credit extended by the issuer. Examples of credit cards
are the Visa credit card issued by members of the Visa bank card
association, the MasterCard credit card issued by members of the
MasterCard bank card association, as well as the Discover, Bravo and

Private Issue cards issued by Dean Witter, Discover & Co. and the Optima

cards issued by American Express.

 
“Charge Card" or "Travel and Entertainment Card" or "T&E Card" is an
access device, usually a plastic card, enabling the holder to purchase goods
and services on credit to be paid on behalf of the holder by the issuer of
such device. Typically, the contractual terms of such cards require that
payment from the holder to the issuer be made in full each month, for ail
payments made on behalf of the cardholder by the issuer during the
preceding month. The issuer does not extend credit to the holder beyond
the date of the monthly statement, nor does it impose interest charges on
the balance due except as a penalty for late payment. Examples of TRE
cards are the American Express, green, gold, and platinum cards as well as
the Diners Club and Carte Blanche cards issued by Citibank.

"Debit Card" is an access device, usually a plastic card, enabling the
holder, among other things, to effect a cash withdrawal from the holder's
bank account at an ATM or make a purchase at a point of sale which is
debited against one or more of the holder's bank accounts.

"ATM Card" is an access device enabling the holder, among other things,
to obtain cash at an ATM which is debited against the holder's deposit
account or line of credit. An ATM Card is a debit card used at ATMs.
"POS Debit Card" is a debit card used at retail points of sale to purchase

goods and services. The Visa Check card is a POS Debit Card.

"Plastic Card" means a device which enables the holder to perform the

functions or obtain the access provided by one or more of the cards

 
defined above, i.¢., credit cards, charge cards, T&E cards and debit cards
(ATM and/or POS).

"Bug" means the imprint of a proprietary trademark or logo on a plastic
card denoting that the card may be used to perform the functions or obtain.
the access associated with that specific logo or trademark in addition to the
functions available from the issuer of the card. A bank-issued ATM card
may contain the bugs of several ATM networks such as Plus, Cirrus,
NYCE and MAC which will permit the holder to access funds at any ATM
associated with those networks. Certain ATM networks such as NYCE
and MAC also operate POS debit programs. An ATM card bearing the
bug of such a network will allow the holder to use her ATM card as a POS
debit card at retail stores which accept the debit cards of such network.
"On-line POS debit transaction" means a debit transaction in which
(similar to a cash withdrawal from an ATM) the cardholder's funds are
electronically segregated or moved out of her account during the
transaction and then contemporanecously or later the same day
electronically deposited into the retailer's account. NYCE, MAC MOST,
HONOR, BankMate, Pulse, Shazam, Maestro and Interlink are among the
many on-line POS debit card networks. On-line debit transactions are
sometimes referred to in the industry as "single message" transactions
because a single electronic message both authorizes the sales transaction

and moves money from the cardholder's bank account into the retailer's

bank account.

 
"Off-line POS debit transaction" means a debit transaction in which funds
are typically moved electronically from the cardholder's bank account to
the retailer's account one to five days after the date of the sales transaction.
Visa Check is an off-line POS debit card. MasterCard’s similar off-line
POS debit card is called MasterMoney. Off-line debit transactions are
sometimes referred to in the industry as "double message" transactions
because one electronic message authorizes the sales transaction and a
second electronic message moves money from the cardholder's account
into the retailer's account.

"Bank card issuing institution" means a bank or other financial institution
member of Visa and/or MasterCard that issues Visa and/or MasterCard
branded plastic cards to consumers for their use as payment systems and
access devices.

“Bank card acquiring institution" or "bank card merchant institution"
means a bank or other financial institution member of Visa and/or
MasterCard that establishes agreements with retailers whereby such
retailers will accept Visa and/or MasterCard branded plastic cards as
payment for the goods and services which they sell.

"Interchange fee" means a fee which the bankcard acquiring institution
pays to the card issuing institution for each retail transaction where the
issuer's card is used as a payment device at one of the acquirer's retail store

accounts. The following example illustrates how the Visa and MasterCard

interchange fees work. Bank A issues a Visa Credit card to Consumer X

 
whe purchases a garment for $100 at Store Y, which was “acquired” for
Visa by Bank B. Visa rules mandate that Bank B must pay Bank A an
interchange fee of 1.25% of the amount of the transaction, ie., $1.25.
Bank B will charge Store Y a "discount fee" higher than $1.25 in order to
recover the mandated interchange fee and earn a profit for itself. Thus,
Bank B may charge a discount fee of 1.60% of the transaction amount (or
$1.60) to Store Y. When Store Y presents Consumer X's $100 Visa
transaction to Bank B, the bank will credit Store Y's account for $98.40,
send the $1.25 interchange fee to Bank A and keep the $.35 balance of the
"discount fee" for itself. When the same bank is both the issuing and
acquiring institution, it keeps the entire interchange fee and discount fee.
Therefore, if Bank B both had issued the Visa Credit card to Consumer X
and had acquired Store Y for the Visa system, it would keep the entire |
$1.60 discount fee, including the $1.25 interchange fee. Such transactions
are referred to in the industry as "on us" transactions. In addition, both the
issuing and acquiring institutions of both Visa and MasterCard must pay
Visa or MasterCard a fee for each retail transaction in which they are
either the issuing or acquiring institution. Visa and MasterCard, thus,
receive part of the interchange and discount fees from the issuing and
acquiring institutions. Visa and MasterCard interchange fees are charged
to the retailer along with the balance of the discount fee by the acquiring

institution and then paid by the "acquirer" to the "issuer." In other

networks, interchange fees may be paid in the other direction, that is, from

 
, issuers to acquirers, as is the case in ATM and certain on-line POS debit
networks.

p- "Discount fee" means the fee charged by Visa and/or MasterCard _
acquiring institutions to their retail store clients for acquiring Visa
transactions as described and discussed in the above definition of
"interchange fee."

IV.
THE PARTIES

9. Plaintiff, Wal-Mart, is a Delaware corporation with its principle place of business
in Bentonville, Arkansas. Wal-Mart, with annual sales of approximately $105 billion, owns and
operates thousands of Wal-Mart and SAM’S Club retail stores throughout the United States,
including this District.

10. Plaintiff, The Limited is a Delaware Corporation with its principal place of
business in Columbus, Ohio. The Limited is the nation's premier specialty retailer, with sales of
approximately $8 billion annually through over 5,000 stores under the following brands:
Express, Lerner New York, Lane Bryant, The Limited Stores, Victoria’s Secret, Structure, The
Limited Too, Abercrombie & Fitch, Henri Bendel, Bath & Body Works, Cacique, Galyan’s and
Penhaligon’s. The Limited also distributes apparel internationally through Victoria's Secret
Catalogue.

ll. Defendant Visa USA, Inc. ("Visa"), a Delaware corporation, is a national bank
card association whose members include more than 6,000 banks. Visa’s principal place of

business is San Francisco, California. Visa is doing business and transacts business in this

judicial district.

 
V.
CO-CONSPIRATORS

12. Various persons, firms, corporations, organizations and other business entities,
some unknown and others known, have participated as co-conspirators in the violations alleged
and have performed acts in furtherance of the conspiracies. Co-conspirators whose identities are
presently known include, but are not limited to, the following: Approximately 2,800 banks that
have issued both Visa credit cards and Visa Check debit cards are co-conspirators. Certain
banks, that are members of the board of directors of Visa adopted and agreed to impose the tying
arrangement challenged in this case upon retailers, are co-conspirators. Approximately 1,000
banks, that are acquiring members of both the Visa and MasterCard associations and have
contemporaneously agreed with Visa to require merchants to accept Visa Check as a condition of
their ability to accept the Visa credit card while agreeing with MasterCard to require merchants
to accept MasterMoney as a condition of their ability to accept MasterCard credit cards, are co-
conspirators. Approximately 900 banks, that are members of both the Visa and MasterCard
associations and are simultaneously issuing the Visa credit card, the MasterCard credit card and
the MasterMoney debit card are co-conspirators.

Vi.
CLASS ACTION ALLEGATIONS

13. Plaintiffs bring this action as a class action under Rule 23(b)(1), (2) and (3),
Fed. R. Civ. P., for violations of, inter alia, 15 U.S.C. §§ 1 and 2 and New York's Donnelly Act.
The class is comprised of all persons and business entities who have accepted the Visa credit
card and therefore are required to accept Visa Check debit cards under the challenged tying

arrangement, during the fullest period permitted by the applicable statutes of limitations (the

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"Class"), The Class does not include the named Defendant, its directors, officers or members of
their families.

14. The tying arrangement has harmed and continues to harm the interests of millions
of retailers throughout the United States. The members of the Class are so numerous that joinder
of all members is impracticable.

15. Defendant's relationships with the Class members and Defendant's enforcement of
the tying arrangement with respect to Class members has been substantially uniform. Questions
of law and fact will predominately be common to the Class.

i6. ‘Plaintiffs have no conflicts of interest with Class members and have retained
counsel competent and experienced in federal and state antitrust litigation. Plaintiffs and their
counsel will fairly and adequately represent the interests of the Class.

17. Defendant has acted, continues to act, refused to act and continues to refuse to act
on grounds generally applicable to the Class, thereby making appropriate final injunctive relief
with respect to the Class as a whole.

18. This action is superior to any other method for the fair and efficient adjudication
of this legal dispute, as joinder of all members is not only impracticable, but impossible. The
damages suffered by certain members of the Class are small in relation to the expense and burden
of individual litigation, and therefore it is highly impractical for such Class members to attempt
redress of the wrongful tying arrangement individually. There will be no extraordinary difficulty
in the management of this Class action. Common questions of law and fact exist with respect to
all Class members and predominate over any questions solely affecting individual members.
Among the questions of law and fact common to the Class, many of which cannot be seriously

disputed, are the following:

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(a) | Whether the Defendant and its co-conspirators tie the acceptance of Visa
Check to retailers' acceptance of the Visa credit card?

(b) Whether Defendant's tying arrangement is per se unlawful because Visa
and its dual Visa/MasterCard members possess and exercise power (either
market power, economic power sufficient to make forcing probable, or
monopoly power) in the markets alleged in this complaint?

(c) The amount of interchange and discount fees members of the Class have
been forced to pay for Visa Check transactions, which they neither sought
nor willingly accepted?

VIL.
FACTUAL ALLEGATIONS

19. Visa is a national bank card association whose members include banks, regional
banking associations and other financial institutions. Visa was established by its members to
develop, promote and operate national bank credit card networks. MasterCard is another bank
card association with virtually identical purposes and members. Visa and MasterCard are herein
collectively referred to as the "Associations."

20. Visa and MasterCard evolved from regional and local credit card systems formed
during the 1960's.

21. Visa's predecessor, BankAmericard, was the local credit card program of the Bank
of America, based in California. In 1970, the program was introduced throughout the United
States under the name, National Bank Americard, Inc. ("NBI"). In 1977, NBI changed its name

to Visa.

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22. MasterCard is the successor to MasterCharge, which was created in 1967 when

the Interbank Card Association of New York banks merged with the Western States Bankcard

Association.
Duality
23. Under their original rules, the Visa and MasterCard Associations were distinct.

Members of Visa could not issue MasterCard credit cards to their customers. In 1976, Visa’s
rules were amended to permit "Duality." Thereafter, banks could be members of both Visa and
MasterCard and issue both brands of plastic credit cards. Banks could also "acquire" retail stores
for both Visa and MasterCard. Every major bank in the United States is a member of both Visa
and MasterCard, and there is currently more than 95% overlap in the Associations’ memberships.
Furthermore, virtually every retail store which accepts Visa credit cards as a form of payment
also accepts MasterCard credit cards. There are very few exceptions to Duality among the
approximately 6,000 financial institutions which issue Visa and/or MasterCard credit cards, and
the approximately 1000 financial institutions which acquire retail stores for Visa and/or
MasterCard. |

24. Duality accelerated two trends which have characterized and dominated the
development of the Associations. First, because their memberships are virtually identical, the
Associations coordinate much of their activity through joint programs, consciously parallel
activity and tacit collusion. Duality also facilitated a high degree of uniformity in interest rates
and fees charged by the Associations’ members to consumer plastic cardholders, and discount
rates charged by the Associations' members to merchants accepting Visa and MasterCard plastic

cards.

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25. The trend towards uniformity in pricing among dual Visa/MasterCard members , ‘
has also been facilitated and exacerbated because Visa bank members collectively fix the Visa
interchange fees and then tum around and, acting as MasterCard members, collectively fix the
MasterCard interchange fees. These interchange fees are the bulk of the final "discount fees"
charged to retailers who accept Visa and MasterCard plastic cards.

26. Visa bank members also jointly adopted the arrangement tying Visa Check to Visa
Credit and then turned around and adopted the arrangement tying Master Money to MasterCard
Credit. These collective acts are all manifestations of Duality and the parallel and interdependent
behavior it has spawned.

Visa and Its Dual Members Dominant In Credit Cards Turn To POS Debit Cards

 

27. By 1979, Visa and its dual members, which issued both Visa and MasterCard
credit cards, dominated the credit card industry. Their share of the national market for general
purpose credit cards (not including T&E cards and not including single purpose proprietary cards
issued by individual merchants such as department stores) was already above 90%. Their share
of a market defined as general purpose credit cards and T&E cards (such as American Express,
Diners Club and Carte Blanche which do not offer revolving lines of credit) was already above
70%. It is now above 77%.

28. By this time, credit cards had become a necessity for retailers. Few if any stores
could remain viable without accepting credit cards and, in particular, the dominant Visa credit
card.

29, Visa and its dual members' dominance of the credit card market posed formidable
barriers to new entrants, and these barriers were raised even higher by collective conduct aimed

at suppressing new competition and making entry as difficult as possible.

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30. Visa members collectively adopted a rule barring their members from issuing any
plastic cards competitive with Visa cards. This rule exempted MasterCard, permitting Visa's
dual members to continue issuing MasterCard plastic cards. Visa members then turned around
arid, acting as MasterCard members, adopted the same non-competition rule. The effect of these
rules was to deprive existing and new competitors of a marketing outlet at the 6000 largest and
most appropriate vendors of their products, i.e., the dual bank members of Visa and MasterCard.
The actions were tantamount to requiring a manufacturer of a product primarily sold in
department stores to build 6000 department store chains. These collective actions increased
considerably the "sunk costs" required to enter the market.

31. By depriving new entrants of a means for efficient and speedy card issuance, the
Associations also dissuaded stores from accepting competing credit cards, since retailer
acceptance of a card is premised on widespread issuance of that card.

32. Whena competitor persisted and entered the market despite the barriers posed by
the Associations’ dominance and their pre-emptive exclusionary conduct, the Associations
resorted to overt predation.

33. In 1987 when American Express entered the revolving credit card market with the
Optima card, Visa’s Chief Executive Officer sent a telegram to 5,500 bank members of both Visa
and MasterCard calling upon them to boycott American Express and it products, such as
American Express travelers checks.

34. Once Visa and its dual members consolidated their control of the credit card
market, they began to pursue other payment systems as sources of revenue. These included
travelers checks, ATM networks (Visa and MasterCard acquired the two largest national ATM

networks: Plus and Cirrus) and POS debit cards.

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35. Point of sale ("POS") debit cards, which are distinct from credit cards, are plastic
cards which access a cardholder’s depository bank account(s). Ifa retailer accepts a particular
POS debit card, the money for.a retail purchase is electronically transferred from the cardholder’s
bank account into the retailer’s account. In an "on-line" POS debit card transaction; the money
can be transferred instantaneously while the cardholder is at the sales desk, or the transfer may
occur later the same day. A single electronic message both "authorizes" the. transaction and the
transfer of money from the cardholder's bank account to the retailer's bank account. Popular on-
line systems in this judicial district include NYCE, MAC, MOST, Visa's Interlink and
MasterCard's Maestro. Other popular on-line POS debit networks in other regions include
PULSE, HONOR, BankMate and Shazam. In so-called “off-line" debit transactions, the
electronic transfer of money from the consumer's bank account to the retailer's account typically
occurs one to five days after the sales transaction. Off-line POS debit transactions are less secure
than on-line transactions for retailers and consumers alike. Among the greater risk factors
associated with an off-line transaction is the use of a cardholder signature rather than an alpha-
numeric "PIN" (personal identification number) which results in greater fraud losses for both
retailers and consumers. In off-line transactions, one electronic message authorizes the
transaction and a second electronic message transfers the funds between accounts. Visa Check
and Master Money are off-line POS debit cards.

36.  Aretailer’s decision to accept or refuse a particular POS debit card or any other
form of payment is based upon a combination of factors, including: safety, convenience and the
cost of accepting each form of payment (“payment system"). Retailers also consider whether
acceptance of a particular payment system will facilitate sale transactions that might not

otherwise occur. For example, acceptance of plastic cards with revolving lines of credit such as

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the Visa credit card, Discover and Optima facilitate purchases by consumers who want to buy
something, but will only do so if they can borrow money and pay over time. Such “revoiving"
credit cards as well as T&E cards also facilitate "convenience" transactions by consumers who
will only make a purchase if they can borrow money for a short time, and pay within the "grace"
periods permitted by T&E and revolving credit line cards.

37. In order to capture these revolving credit and convenience transactions, which
might not otherwise occur, Plaintiffs and the Class will pay the discount fees associated with
credit and T&E cards. These discount fees currently range from approximately 1.4% to 4.5% of
the transaction amount. The bulk of the discount fees charged by Visa members are the
“interchange fees” which the bank members of Visa collectively fix and require the Visa
acquiring members to collect from retailers as part of the discount fee, and then pay to the Visa
issuing members. Both the issuing and acquiring institutions must pay a portion of these fees to
Visa for each and every transaction.

38. Interchange and discount rates vary depending upon the degree of electronic
automation possessed by a particular retailer at its payment stations. A retailer with state of the
art computerized POS terminals will pay lower interchange and discount fees than a small store
which manually runs its plastic cards through a “credit card imprinter" and places a telephone
call to a bank or card processor for voice authorization.

39, Discount fees also vary among competing plastic cards. American Express has
traditionally charged higher discount fees than Visa member banks and asserts that it attracts

more affluent consumers to the stores which accept its American Express cards.

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40. With the exception of Visa Check and Master Money, each retailer can choose the
payment systems it will accept based upon all of these factors, all the while recognizing that the
cost of each payment system is ultimately reflected in the prices paid by all consumers.

41. In or about 1979, POS debit cards became very attractive to the Associations.
While credit cards were the Visa banks' most profitable, and in many cases only profitable, line
of business, more than 90% of all retail transactions were paid for with cash and checks.

42. POS (retail) debit cards, which in 1979 had already been in sparse circulation for
more than a decade, promised a "Cashless Society." Debit transactions could replace many, and
potentially most, cash and check retail transactions with plastic card transactions, which were
safer, more convenient and less costly for banks, and also potentially more efficient for
consumers and retailers as well.

Visa Ties Its Visa Check Debit Card
to The Dominant Visa Credit Cards

43, Visa has never hidden its intention to be dominant, stating that it intends to be
"the number one payment system in the world." In or about 1979, after Visa and its duai
members had consolidated their contro! of the oredit card market, they moved to convert cash
and check retail transactions to debit transactions, but to do so in a manner most profitable for
them and most costly and inefficient for retail stores and consumers. ‘Visa initiated the “off-line”
POS debit cards now known as Visa Check. Contemporaneously, MasterCard initiated the off-
line debit card now known as MasterMoney.

44. From the outset Visa and MasterCard tied Visa Check and MasterMoney to their

credit cards, forcing retailers to accept the debit cards if they wanted to continue accepting the

dominant, ubiquitous and essential Visa and MasterCard credit cards.

 
 

45. From the outset Visa, MasterCard and their dual members charged retailers the

same fees for Visa Check and MasterMoney as for their credit cards.

46. Visa charged the same fee for the Visa Check debit card as for its credit card,
despite the fact that the costs and risks associated with credit cards are far greater than for debit
cards. Debit transactions do not involve any extension of credit, let alone the highly risky
extension of credit with temporally open-ended revolving lines. (American Express entered the
revolving credit card market with the Optima Card in 1987, and wrote off $265 million in
Optima losses by 1991.) The risk of fraud is also far greater for credit cards than for debit cards,

47. Ina free and unrestrained market, these higher costs and risks translate into
interchange and discount fees which are much higher for credit cards than for POS debit cards.
Currently, the interchange fees for a $100 retail transaction at a store with the most advanced

electronic environment (and hence the lowest possible rates) are:

Visa Credit - $1.25 (1.25% of transaction amount)
Visa Check (debit) —- $1.10 (1.04% of transaction amount + $.06)
NYCE (debit) - $.075 ($.075 per transaction) |
MAC (debit) - $.065 ($.065 per transaction)

Most (debit) - $.05 ($.05 per transaction)

Pulse (debit) - $.05 ($.05 per transaction)

Shazam (debit) - $.05 ($.05 per transaction)

Honor (debit) ~ $.05 ($.05 per transaction)
BankMate (debit) - $.05 ($.05 per transaction)

Explore (debit) - $.075 ($.075 per transaction)
Maestro (debit) - $.095 ($.095 per transaction)

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48. The lowest Visa Check interchange fee for a $100 retail transaction is more than
14 times the rate for a NYCE transaction and nearly 17 times the rate for a MAC transaction.

49. The typical Visa Check retail purchase transaction is approximately $40.00. The
interchange fee comparisons among Visa Check and typical competing on-line regional POS
debit networks for a $40.00 retail purchase transaction using the lowest possible Visa Check

interchange rate is:

Visa Check - $.476 (1.04% of transaction amount + $.06)
NYCE ~ $.075 ($.075 per transaction)
MOST - $.05 ($.05 per transaction)
Pulse - $.05 ($.05 per transaction)
Shazam - $.05 ($.05 per transaction)
Honor - $.05 ($.05 per transaction)
BankMate - $.05 ($.05 per transaction)
Explore . $.075 ($.075 per transaction)
Maestro - $.095 (.095 per transaction)
50. No retailer would willingly pay these fixed, supra-competitive and extortionate

rates and none willingly do. Plaintiffs and their Class have no choice. They must accept any
proffered Visa Check card if they want to continue accepting the Visa credit card. They must
honor the dominant Visa credit card if they are to remain viable.

51. Under Visa's so-called, "anti-discrimination rules," retailers are even prohibited
from asking a consumer whether she would not mind using a different payment system,
including a debit card such as NYCE or MAC, which will cost the retailer a small fraction of the
fees charged for Visa Check. Virtually every consumer holding ay Visa Check card also holds a

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‘ plastic card bearing the "bugs" of one or more regional POS debit card networks such as NYCE
and MAC. Indeed, most Visa Check cards currently bear such regional POS debit network bugs.

52. Recognizing that regional on-line systems are cheaper, faster and safer for all
parties to the transaction, Visa members have suggested that the competition they potentially
pose be eliminated through boycott. | At the September 1995 American Bankers Association
meeting, the President of a prominent Visa and MasterCard member bank recommended to the
assembled dual Visa/MasterCard membership that they follow the lead of his bank and issue
Visa Check and Master Money cards without regional on-line debit network bugs. Such activities
further exacerbate the purposeful tendency of the tying arrangement to foreclose competition
from far less expensive and superior payment systems.

53. | When aconsumer presents a Visa Check card as her chosen method of payment,
she has the money for a purchase and wants to use that money for that purpose. If the retailer
could refuse these cards, the consumer is likely instead to pay with a check, cash (which can be
obtained from an ATM frequently in or adjacent to the retail store) or with a regional on-line
debit card. Thus, were retailers free to reject Visa Check or even free to request a different form
of payment, there is virtually no possibility that they would lose the sale. All they would lose are
the exorbitant fees that are forced upon them by the Visa tying arrangement.

54. | When Wal-Mart and The Limited are forced to accept Visa Check for a $100
purchase, the interchange fee costs Plaintiffs at least $1.10.

55. If Plaintiffs could reject the proffered Visa Check card or request payment with a
check, cash or with a NYCE, MAC, MOST or other on-line POS debit card, which virtually every
Visa Check cardholder carries, the savings to the Plaintiffs, and ultimately their customers, would

amount to well over $1.00 on every $100.00 transaction and approximately $.40 on every $40.00

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‘ transdction. However, Plaintiffs can neither refuse to accept Visa Check nor suggest a different
payment system to the customer. Consequently, faster, safer and far less costly payment systems
are effectively foreclosed from selling their services to Plaintiffs and the Class.

56. In 1995, Visa Check cards were used in approximately 556 million retail
transactions, comprising a dollar volume of approximately $22 billion.

57. Retailer Class members would have realized virtually every. dollar of the $22
billion in sales volume, without acceptance of Visa Check through consumer use of cash, checks,
travelers checks or on-line POS debit cards, each costing retailers a small fraction of the fees
charged by Visa and its members.

58. In 1995, the average Visa Check retail purchase transaction was approximately
$40.00. In 1995, the lowest possible Visa Check interchange fees for a non-supermarket retailer,
such as The Limited, was 1.05% of the transaction amount plus $.03. (The lowest rates, as
stated, are now 1.04% plus $.06.) Therefore, in 1995, the lowest possible interchange rate on a
typical $40.00 transaction was $.45. Even retailers as large as The Limited and Wal-Mart pay
much higher rates on many of their transactions. Indeed, Wal-Mart, the world's largest retailer
pays higher interchange fees on approximately 12% of its Visa Check transactions.

59. The total 1995 Visa Check interchange fees computed at the lowest possible rate
for these 556 million Visa Check transactions was approximately $250,000,000.00.

60. In 1995, Class members who accept on-line POS debit cards would have paid less
than $33,000,000.00 in interchange fees for the same transactions processed by on-line POS
debit networks, which are more secure and which transfer money to retailer accounts much more
speedily. If these purchases were paid for with cash, checks and/or travelers checks, the costs to

retailers would have been well below this figure of $33,000,000.

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* 61. | Wal-Mart and The Limited's experience with this involuntarily received debit card
is typical of the Class' experience.

62. Wal-Mart and The Limited have, since 1979, and more specifically, during the
last four years, been forced to accept Visa Check as payment in tens of millions of retail
transactions.

63. Plaintiffs paid tens of millions of dollars in Visa Check interchange fees in excess

of what they would have paid for the acceptance of checks, currency, travelers checks or on-line

POS debit cards on the same retail transactions.
64. During this period, Plaintiffs were prevented and foreclosed from rejecting Visa
Check and from requesting that their customers instead use other supertor and far less costly

forms of payment.

Visa Concealed The Existence And
Use Of Visa Check From Retailers

65. In fact, most retailers could not have asked for another form of payment even if
Visa rules permitted this; because they were, and some still are, unaware that they "accept" Visa
Check transactions and have been forced to do so for more than 16 years.

66. From the outset Visa adopted elaborate measures to deceive retailers into
believing that they were receiving the Visa credit card when in fact they were receiving Visa
Check from consumers neither needing nor wanting to buy on credit.

67. Visa designed Visa Check so that the card would be visually and electronically
indistinguishable from a Visa credit card. Visa also instructed its members to avoid
communications with retailers which might disclose the true identity and the fixed and supra-

competitive fee structure of Visa Check.

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. 68. Visa's "Debit Card Training Materials and Customization Guide" urges Visa
banks to avoid and deflect retailers questions about the Visa Check discount rate. This Visa
Guide notes that the “inability to tell the difference between Visa Debit and a Visa Credit card"
may result in confusion. Visa's solution for this is to design the cardholder's statement in a
manner that will clearly distinguish the two distinct forms of payment. However, the Guide
counsels that the retailer can be kept in the dark about these visually indistinguishable plastic
cards. The Guide poses the following hypothetical question from a cardholder to a customer
service representative: "Do I need to tell the merchant that I am using a debit card?" The Visa
Guide's suggested answer is: "There’s no need to provide a detailed explanation. Simply tell the
merchant that you want to use the Visa card. He or she will handle the transaction like any other
Visa payment."

69. Another measure which purposefully concealed the Visa Check debit card and the
arrangement tying it to the Visa credit card was the manner in which Visa members priced Visa
Check transactions to retailers.

70. From Visa Check's inception, bank members collectively fixed the identical
interchange fee for Visa Check as they fixed for Visa Credit, further reducing the possibility that
a retailer would detect the different products.

71. Visa dual members then turned around and, acting as MasterCard members,
collectively fixed the same interchange fee for MasterMoney as they collectively fixed for
MasterCard credit.

72. After approximately 15 years, i.e., in April 1994, Visa members collectively
adopted a Visa Check interchange fee which was slightly different from the interchange fee they

collectively fixed for Visa Credit cards. The Visa Check interchange fee is now 1.04% of the

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transaction amount plus $.06 compared to the Visa Credit interchange fee of 1.25% of the
transaction amount (both excepting slightly different rates for certain large supermarkets, which
can be higher or lower than the rates applicable to other retailers depending upon the dollar
amounts of the sales transactions). This means that the interchange fee is slightly higher for Visa
Check in retail transactions of less than $28.57 and slightly higher for Visa Credit in retail
transactions greater than $28.57.

Visa Has Refused Retailer Demands
to Cease the Tying Arrangements

73. Despite Visa's campaign of concealment, certain sophisticated retailers such as
Wal-Mart, The Limited and Nordstrom became aware that they were being forced to take Visa
Check at exorbitant and fixed prices. These retailers explicitly demanded that Visa cease the
tying arrangement and allow them to refuse Visa Check. As explained below, these demands
were explicitly rejected.

74, In 1983 Nordstrom, a national chain of department stores detected that it had been
unwittingly accepting Visa Check cards for an undetermined period of time.

75. Visa's concealment techniques had effectively prevented Nordstrom from
detecting when it first began to receive Visa Check and the number of involuntary Visa Check
transactions. At that time (1983) Nordstrom complained that: "Visa Debit Cards are usually
issued in a form that does not identify the card as a debit card, so that a merchant cannot
distinguish a Visa debit card from a Visa credit card. Visa charges the same merchant discount
fee for debit card transactions as it does for credit card transactions.”

76. When Nordstrom discovered its involuntary receipt of Visa Check, it stopped

honoring the card.

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. 17. Thereafter, in March 1983, Visa and First Interstate Bank, Nordstrom’s Visa
merchant bank, notified Nordstrom that its contractual right to accept Visa Credit cards would
terminate in 30 days unless it resumed accepting Visa Check.

78. | Nordstrom’s resistance to the tying arrangement continued for a while, but it
eventually capitulated because it could not successfully operate without Visa Credit cards.

79, In or about 1991, plaintiff The Limited became aware that it was involuntarily
accepting Visa Check,

80. In June 1991, The Limited wrote to Visa demanding that it cease the tying
arrangement and permit The Limited to refuse acceptance of Visa Check.

81. Visa rejected The Limited's demand.

82. In or about November 1995, plaintiff Wal-Mart explicitly demanded that Visa
cease the tying arrangement and allow Wal-Mart to reject Visa Check cards. Wal-Mart also
protested that Visa and its members were actively taking measures to prevent the use of faster,
safer and far less costly regional on-line POS debit cards. Visa rejected Wal-Mart's demand and
in substance questioned why Visa would allow Wal-Mart to receive a cheaper (regional on-line)
POS debit card when it could make Wal-Mart accept Visa Check with its much higher fee.

83. Wal-Mart, The Limited and Class members did not and do not want to accept Visa
Check because the fees charged for Visa Check are exorbitant, fixed and maintained at supra-
competitive levels only through the coercive force of the tying arrangement.

The Tying Arrangement Catapults Visa Check
Into Dominance and Effectively Forecloses Competition in the POS Debit Card Market

84. When Visa initiated the Visa Check program in or about 1979, the number and

dollar amount of such transactions were relatively small, accounting for under one-tenth of 1% of

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all Visa transactions. Visa Check transactions represented a small minority of the transactions in
the nascent POS debit card market.

85. Over the years, Visa carefully, relentlessly and stealthily fostered the domination
of Visa Check over faster, safer and far less costly on-line POS debit networks.

86. Since 1992, the number of Visa Check cards has annually increased by an average
of 56%. The average annual rate of increase in the number of Visa Check transactions during
this period was 60%. Last year alone, the number of transactions increased by 80%. The dollar
volume of these debit transactions has increased annually during this period at an average rate of
46%.

87. By the end of 1995, there were approximately 32 million Visa Check cards in
circulation issued by 2,800 Visa members. In 1995, Visa Check cards were used in
approximately 556 million retail transactions, comprising a dollar volume of approximately $22
billion.

88. Over these years, the cumulative loss to retailers for the much slower transfer of
billions of dollars in consumers’ funds into the stores' bank accounts (same day for on-line POS
debit versus one to five days for Visa Check) has been substantial in and of itself.

89, This substantial loss, however, is dwarfed by the losses suffered through forced
payment of Visa Check interchange fees. As noted, in 1995 retailers were forced to pay
approximately $250 million in Visa Check interchange fees compared with $33 million for
typical on-line POS debit systems, such as NYCE, MAC and MOST. Moreover, their costs would
have been even lower for receiving cash, checks or travelers checks.

90. Ina free and unrestrained market, Visa Check would gain minuscule acceptance

and market share, given its exorbitant, fixed and supra-competitive price and the pronounced

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: inferiority of Visa Check relative to its competitors. However, the synergistic effect of the Visa
tying arrangement and the anti-discrimination rules, which prohibit a retailer from even
suggesting another form of payment when Visa Check is proffered, was intended, and has
proven, to be a powerful engine for market foreclosure.

91. As noted, Visa Check transactions initially represented a small percentage of the
overall market for POS (retail) debit transactions. By the end of 1995, the foreclosing effects of
the tying arrangement and anti-discrimination rules had catapulted the inferior and exorbitantly-
priced Visa Check into a dominant position in the market. In 1995, the number of Visa Check
transactions grew 80% over the previous year compared to a 40% ero wth rate for the safer, faster
and much less costly on-line POS debit systems.

92. At the end of 1995, the Visa Check share of the national general-purpose POS
debit card market was 51%. By employing an identical arrangement tying MasterMoney to the
MasterCard credit card, the dual Visa members who issue both Visa and MasterCard have
secured a 9% market share for their secondary brand off-line debit card, Master Money.

Master Money secured this market share, second only to the Visa Check, with virtually no
promotional effort, and at prices even higher than the exorbitant, fixed and supra-competitive
Visa Check prices.

93. The 25 competing regional on-line POS debit networks, such as NYCE, MAC and
MOST, have collectively secured a 30% market share despite offering safer, faster and far less
costly services. (As noted, the Visa Check interchange fee on a $100 transaction is $1.10
compared to the average regional network fee of $.06. For a $40.00 transaction, the fees are $.45

and $.06, respectively.)

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04, The faster and safer, but "untied," on-line POS debit networks owned by Visa and
MasterCard -- Interlink, priced at 38% of Visa Check and Maestro, priced at 16% of
Master Money -- have collectively garnered only 10% of the POS debit market. Without the
foreclosing power of the tying arrangements employed for Visa Check and Master Money these
systems are subjected to real head-to-head competition on the merits.

95. Visa has not tied Jnterlink to its dominant Visa credit card in part because it has
little desire to increase usage of this faster, safer and less expensive system and thereby, to
depress the supra-competitive profits earned by the tied Visa Check card.

96. Visa's overall share of the POS debit card market is 61% (51% for Visa Check and
10% for Interlink), MasterCard's overall share is 9%, virtually all of this for MasterMoney.
Visa's "dual" members have thus secured a market share of roughly 70%.

97. Visa Check, an inferior and far more costly product, has quickly moved from a
minority share of the market to dominance. The tying arrangement has effectively and
substantially foreclosed the market and virtually eliminated the efficacy of competition on the
merits.

VIL.
RELEVANT MARKETS

98. General purpose credit cards are the product dimension of a relevant market. The
geographic dimension of this market is the United States ("Credit Card Market").

99, General purpose credit cards and T&E cards are the product dimension of a
relevant market. The geographic dimension of this market is the United States ("Credit and T&E
Market").

100. General purpose POS debit cards is the product dimension of a relevant market.

The geographic dimension of this market is the United States ("POS Debit Card Market").

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101. Point of Sale ("POS") plastic cards, credit, debit and T&E, permit retail
consumers to pay for goods and services at retail stores.

102. Credit cards permit consumers to borrow the money for a retail purchase from the
card issuer and to repay the debt over time, according to the provisions of a revolving credit
agreement with the issuer.

103. Both credit cards and T&E cards permit a consumer to borrow the money for a
retail purchase from a card issuer and to repay the debt without incurring interest charges during
a "grace period," according to the provisions of an agreement with the issuer.

104. POS debit cards permit consumers to pay for retail purchases with funds from
their depository accounts.

105. Only “credit-worthy" consumers can obtain credit cards. The criteria employed
by issuers of T&E cards such as American Express, Diner's Club and Carte Blanche also involve
credit-worthiness, but are not identical to the criteria employed by issuers of revolving line credit
cards. The divergence in the criteria for issuing credit and T&E cards became more pronounced
after American Express lost hundreds of million of dollars on the bad debts of Optima
cardholders, who had been proven "credit-worthy" holders of American Express T&E cards
(green, gold and platinum).

106. Consumers who use credit cards for retail payment either want to or have to
borrow money, which they can either repay to the card issuer without interest during a grace
period, or repay over time according to a revolving credit agreement.

107. Consumers who use T&E cards for retail payment either want to or have to
borrow money which they can repay to the card issuer, without interest, according to the terms of

their agreement with the card issuer.

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108. Consumers who use debit cards for retail payment either want to or have to make
contemporaneous ‘payment for their purchases with funds in their depository accounts. Such
consumers either do not want to borrow money, or cannot do so, because they do not hold a
ciedit or T&E card accepted by the retailer, or because they are not deemed credit-worthy and
therefore cannot obtain a credit or T&E card.

109. Additionally, debit cards are used by consumers either wanting or needing to
make contemporaneous payment for retail purchases where the retailer will not accept checks
and/or currency (e.g., Federal Express); when for safety or other reasons the consumer does not
want to make a "significant" retail purchase with cash; or, when the consumer merely wants the
speed and convenience of a plastic card transaction.

110. General purpose plastic cards (credit, debit and T&E) can be used at all types of
retail establishments, in contrast to proprietary cards such as those issued by department stores or
gasoline retailers solely for use at the issuer's retail outlets.

111. Credit cards are a unique product and bundle of services. Many consumers do not
consider other payment systems suitable substitutes for their use of credit cards, nor would they
substitute other payment systems for credit cards nor would they do so even in response to a
significant, non-transitory increase in the price of credit cards.

112. T&E cards are a unique product and bundle of services. Many consumers do not
consider other payment systems suitable substitutes for their use of T&E cards, nor would they
substitute other payment systems for T&E cards, nor would they do so even in response to a
significant, non-transitory increase in the price of T&E cards.

113. Retailers consider credit and T&E cards to be suitable substitutes for each other.

They do not consider other payment systems suitable substitutes for credit and T&E cards, nor

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would they substitute other payment systems for credit and T&E cards, nor would they do so
even in response to a significant, non-transitory increase in the price of credit and T&E cards.

114. POS debit cards are a distinct product and bundle of services.

FIRST CLAIM FOR RELIEF
SHERMAN ACT SECTION ONE
COMBINATION AND CONSPIRACY IN RESTRAINT OF TRADE
PER SE UNLAWFUL AND UNREASONABLE TYING

115. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 114 with the same force and effect as if here set forth in full.

116. Beginning in or about 1979, the exact date unknown to Plaintiffs, and continuing
thereafter until the filing of this Complaint, Defendant Visa, Visa member banks which issue
and/or acquire for Visa Credit and Visa Check and bank members of the Visa board of directors
(the “Visa conspirators”) and co-conspirators have continually engaged in an unlawful contract,
combination and conspiracy in unreasonable restraint of interstate trade and commerce, in
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

117. The combination and conspiracy has consisted of a continuing agreement,
understanding and concert of action among the Visa conspirators, and forced agreements with the
Class of retailers, the substantial terms of which have been to limit the sale of a distinct product,
Visa Credit card services (including the right to accept Visa Credit cards), to retailers who agree,
albeit under coercion and/or unwittingly, to buy a second distinct product, Visa Check services
(including the obligation to accept Visa Check cards).

118. Atall times, the Visa conspirators had monopoly power and/or market power

and/or economic power in the relevant Credit card and Credit and T&E Markets, sufficient to

force Plaintiffs and their Class to purchase and accept Visa Check.

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1 19, Visa Check entered a market in which several safer, faster and far less expensive
POS debit networks were already operating. Visa Check was an inferior form of an established
product from inception. The mechanisms adopted by Visa Check to obtain market share were the
tying arrangement and concealment campaign, as detailed above. Since Visa Check's entry,
many more on-line POS debit networks offering safer, faster and far less expensive services have
entered the market.

120. The continued employment of the tying arrangement achieves no legitimate
efficiency benefit to counterbalance its demonstrated anticompetitive effect of foreclosing merit
competition in the POS Debit Card market.

121. Plaintiffs and their Class were forced to buy and accept Visa Check at fixed and
supra-competitive prices.

122. The ability of Plaintiffs and their Class to buy, accept and receive superior and
less costly payment systems, including on-line POS debit cards, was effectively and substantially
reduced, limited and foreclosed.

123. The ability of competing payment systems, including on-line POS debit cards, to
compete effectively with Visa Check on the merits was substantially reduced, limited and
foreclosed.

124. The combination and conspiracy has been effectuated by the means and overt acts
set forth above, among others.

125. The Visa conspirators and others acting in concert with them intended by their
actions to:

a. Force Plaintiffs and their Class into buying, accepting and receiving Visa

Check;

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| | b. reduce, limit and foreclose merit competition in the POS Debit Card
Market; and

C. injure and eliminate competition in the POS Debit Card Market.

126. The combination and conspiracy has had and/or is likely to have among other
things, the following effects:

a. Actual and potential competition in the POS Debit Card Market has been
limited, reduced, restrained, suppressed and effectively foreclosed;

b. retailers who buy, accept and receive Visa Check have paid or are likely to
pay artificially inflated prices;

c. actual and potential competitors of Visa Check, including on-line POS
debit card systems have been effectively foreclosed from competing on the
merits with Visa Check and injured in their business and property; and

d. the customers of Plaintiffs and the Class and the public have paid higher
prices for all retail merchandise and have been deprived of the benefits of
a free, open, competitive and unrestrained POS Debit Card Market.

127. Asaresult of Visa's and Visa conspirators' violations of Section 1, Plaintiffs and
their Class have been injured in their business and property in an amount not presently known
with precision but which is, at a minimum, hundreds of million of dollars, prior to trebling.

128. Such violation and the effects thereof are continuing and will continue unless the

injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.

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SECOND CLAIM FOR RELIEF
SHERMAN ACT SECTION TWO
ATTEMPT TO MONOPOLIZE
129. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 128 with the same force and effect as if here set forth in full.

130. In violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, Visa, the Visa
conspirators and co-conspirators, have knowingly, intentionally and with specific intent to do sO,
attempted to monopolize the POS Debit Card Market.

131. The attempt to monopolize this market has been effected by the means and the
overt acts set forth above, among others.

132. Visa, the Visa conspirators and co-conspirators intended by their actions to:
a. control the supply and price of POS debit card services;

b. eliminate, reduce, limit and foreclose actual and potential competition in

the POS Debit Card Market;

c. exclude and foreclose other persons from participating in or entering said
market; and
d. injure and eliminate competition in said market.

133. Asaresult of the conduct alleged herein, Visa and the Visa conspirators control
such a substantial share of the POS Debit Card Market that, when coupled with Visa's
anticompetitive conduct, including the arrangement tying Visa Check to Visa Credit cards and
the collective fixing of debit interchange fees, a dangerous likelihood exists that Visa will

monopolize the POS Debit Card Market.

134. The attempt to monopolize has had, or is likely to have, among other things, the

following effects:

 
a, Actual and potential competition in the POS Debit Card Market has been
limited, reduced, restrained, suppressed and effectively foreclosed;

b. retailers who buy, accept and receive Visa Check have paid or are likely to
pay artificially inflated prices;

c. actual and potential competitors of Visa Check, including on-line POS
debit card systems, have effectively been foreclosed from competing on
the merits with Visa Check and injured in their business and property;

d. the customers of Plaintiffs and the Class and the public have paid higher
prices for all retail merchandise and have been deprived of the benefits of
a free, open, competitive and unrestrained POS Debit Card Market; and.

e, instead of a free, open and competitive POS Debit Card Market, a
monopoly, or dominant position dangerously likely to become a
monopoly, has been established and maintained.

135. Asaresult of Visa's and the Visa conspirators! violations of Section 2, Plaintiffs
and their Class have been injured in their business and property in an amount not presently
known with precision but which is, at a minimum, hundreds of million of dollars, prior to
trebling.

136. Such violation and the effects thereof are continuing and will continue unless the

injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.
THIRD CLAIM FOR RELIEF
SHERMAN ACT SECTION TWO
CONSPIRACY TO MONOPOLIZE

137. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 136 with the same force and effect as if here set forth in full.

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138. In violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, Visa, the Visa
conspirators and co-conspirators, have willfully, knowingly, intentionally and with specific intent
to do so, combined and conspired to monopolize the POS Debit Card Market.

139. The combination and conspiracy to monopolize this market has been effected by
the means and the overt acts set forth above, among others.

140. Visa, the Visa conspirators and co-conspirators intended by their actions to
restrain trade in the relevant markets in the manner specified in paragraph 132.

141. Asaresult of the conduct alleged herein, Visa and the Visa conspirators control
price, have and are able to exclude competitors and competition and have and are able to charge
supra-competitive prices in the POS Debit Card Market.

142. The combination and conspiracy to monopolize has had, or is likely to have,
among other things, the effects specified in paragraph 134.

143. As aresult of Visa's and the Visa conspirators’ violations of Section 2, Plaintiffs
and their Class have been injured in their business and property in an amount not presently
known with precision but which is, at a minimum, hundreds of million of dollars, prior to
trebling.

144. Such violation and the effects thereof are continuing and will continue unless the
injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.

FOURTH CLAIM FOR RELIEF
THE DONNELLY ACT
COMBINATION IN RESTRAINT OF TRADE
PER SE UNLAWFUL AND UNREASONABLE TYING

145. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 144 with the same force and effect as if here set forth in full.

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146. Beginning in or about 1979, the exact date unknown to Plaintiffs, and continuing
thereafter until the filing of this Complaint, Defendant Visa, Visa member banks which issue
and/or acquire for Visa Credit and Visa Check, and bank members of the Visa board of directors
(the "Visa conspirators") and co-conspirators have continually engaged in an unlawful contract,
agreement, combination, arrangement and conspiracy in unreasonable restraint of the trade and
commerce of New York State, in violation of the Donnelly Act, New York General Business
Law § 340. :

147. The combination has consisted of a continuing agreement, understanding and
concert of action among the conspirators and forced agreements with the Class of retailers, the
substantial terms of which have been to limit the sale of a distinct product, Visa Credit card
services (including the right to accept Visa Credit cards), to retailers who agree, albeit under
coercion and/or unwittingly, to buy a second distinct product, Visa Check services (including the
obligation to accept Visa Check cards).

148.  Atall times the conspirators had monopoly power and/or market power and/or
economic power in the relevant Credit card and Credit and T&E Markets, sufficient to force
Plaintiffs and their Class to purchase and accept Visa Check.

149, Visa Check entered a market in which several safer, faster and far less expensive
POS debit networks were already operating. Visa Check was an inferior form of an established
ptoduct from inception. The mechanisms adopted by Visa Check to obtain market share were the
tying arrangernent and concealment campaign as detailed above. Since Visa Check’s entry many
more on-line POS debit networks offering safer, faster and far less expensive services have

entered the market.

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150. The continued employment of the tying arrangement achieves no legitimate
efficiency benefit to counterbalance its demonstrated anticompetitive effect of foreclosing merit
competition in the POS Debit Card market.

151. Plaintiffs and their Class were forced to buy and accept Visa Check at fixed and
supra-competitive prices.

152. The ability of Plaintiffs and their Class to buy, accept and receive superior and
less costly payment systems, including on-line POS debit cards, was effectively and substantially
reduced, limited and foreclosed.

153. The ability of competing payment systems, including on-line POS debit cards, to
compete effectively with Visa Check on the merits was substantially reduced, limited and
foreclosed.

154. The combination has been effectuated by the means and overt acts set forth above,
among others.

155. The intended, likely and actual effects of these acts are the same as those set forth
in paragraphs 125 and 126.

156. Asaresult of Visa's and the Visa conspirators’ violations of the Donnelly Act,
Plaintiffs and their Class have been injured in their business and property in an amount not
presently known with precision but which is, at a minimum, hundreds of million of dollars, prior
to trebling.

157. Such violation and the effects thereof are continuing and will continue unless the

injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.

 
FIFTH CLAIM FOR RELIEF
THE DONNELLEY ACT
ATTEMPT TO MONOPOLIZE

158. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 157 with the same force and effect as if here set forth in full.

159. In violation of the Donnelly Act, Visa, the Visa conspirators and co-conspirators,
have knowingly, intentionally and with specific intent to do so, attempted to monopolize the POS
Debit Card Market.

160. The attempt to monopolize this market has been effected by the means and the
overt acts set forth above, among others.

161. Visa, the Visa conspirators and co-conspirators intended by their actions to
restrain trade in the relevant markets in the manner specified in 132.

162. Asaresult of the conduct alleged herein, Visa and the Visa conspirators control
such a substantial share of the POS Debit Card Market that when coupled with Visa's
anticompetitive conduct, including the arrangement tying Visa Check to Visa Credit cards, a
dangerous likelihood exists that Visa will monopolize the POS Debit Card Market, including
New York State.

163. The attempt to monopolize has had, or is likely to have, among other things, the
effects specified in paragraph 134.

164. Asaresult of Visa's and the Visa conspirators' violations of the Donnelly Act,
Plaintiffs and their Class have been injured in their business and property in an amount not
presently known with precision but which is, at a minimum, hundreds of million of dollars prior

to trebling.

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165. Such violation and the effects thereof are continuing and will continue unless the
injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.
SIXTH CLAIM FOR RELIEF
THE DONNELLY ACT
CONSPIRACY TO MONOPOLIZE

166. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 165 with the same force and effect as if here set forth in full.

167. In violation of the Donnelly Act, Visa, the Visa conspirators and co-conspirators,
have willfully, knowingly, intentionally and with specific intent to do so, combined and
conspired to monopolize the POS Debit Card Market, including New York State.

168. The combination and conspiracy to monopolize this market has been effected by
the means and the overt acts set forth above, among others.

169. Visa, the Visa conspirators and co-conspirators intended by their actions to
restrain markets in the manner specified in paragraph 132.

170. Asaresult of the conduct alleged herein, Visa and the Visa conspirators control
price, have and are able to exclude competitors and competition and have and are able to charge
supra-competitive prices in the POS Debit Card Market.

171. ‘She combination and conspiracy to monopolize has had, or is likely to have,
among other things, the effects specified in paragraph 134.

172. Asaresult of Visa's and the Visa conspirators’ violations of the Donnelly Act,
Plaintiffs and their Class have been injured in their business and property in an amount not
presently known with precision but which is, at a minimum, hundreds of million of dollars, prior

to trebling.

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173. Such violation and the effects thereof are continuing and will continue unless the
injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.

SEVENTH CLAIM FOR RELIEF
15 U.S.C. 1666(g) -- TIE-IN

174. Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
through 173 with the same force and effect as if here set forth in full.

175. Visa acts as the agent for the thousands of card issuing banks that issue the Visa
credit cards, as well as the approximately 1000 banks that acquire the plaintiff retailers’ credit
card transactions for Visa.

176. As agent of its member card issuing banks, Visa is considered a "card issuer" 7
within the meaning of 15 U.S.C. § §1602(n) and 1666(g).

177. Visa, along with its member card issuing banks, conditions the retailers’
participation in the Visa credit card program upon the retailers’ acceptance of the Visa Check off-
line POS debit product. The off-line debit transactions which take place at each retailer's
locations are then processed by the retailer's acquiring bank and the Visa bankcard association
for a discount fee, which includes Visa's interchange fee.

178. The foregoing constitutes a violation of 15 U.S.C. §1666(g), entitled "Tie-in
services prohibited for issuance of credit card" which provides that “Notwithstanding any
agreement to the contrary, a card issuer may not require a seller, as a condition to participating in
a credit card plan, to open an account with or procure any other service from the card issuer or its
subsidiary or agent.”

179. Asaresult of Visa and its co-conspirator issuing and acquiring banks’ violations

of 15 U.S.C. §1666(g), Plaintiffs and their Class have been injured in their business and property

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in asi amount not presently known with precision but which is, at a minimum, hundreds of
millions of dollars, prior to trebling.

180. Such violations and the effects thereof are continuing and will continue unless the
injunctive relief requested is granted. Plaintiffs have no adequate remedy at law.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiffs respectfully demand:
A. That the Court declare, adjudge and decree that Pen has committed the

violations of federal and state law alleged herein; i

 

B. That the Court enter an order pursuant to Rule 23 of the Federal Rules of Civil

Procedure permitting this action to be maintained a class action on behalf of the Class specified
herein;

C. That Defendant, its directors, officers, employees, agents, successors and
members be enjoined and restrained from, in any manner, directly or indirectly continuing or
maintaining the arrangement tying the sales of Visa credit card services to the purchase and
acceptance of Visa Check card services; that Defendant, its directors, officers, employees, agents,
successors and members be enjoined and restrained from, in any manner, directly or indirectly
committing other violations of Sections 1 and 2 of the Sherman Act and the Donnelly Act, in
which it and co-conspirators have been engaged; and that Defendant, its directors, officers,
employees, agents, successors and members be enjoined and restrained from, in any manner,
directly or indirectly, committing any other violations of statutes having a similar purpose or
effect.

D. That the Court award damages sustained by the Plaintiffs and members of their

Class on the First, Second, Third, Fourth, Fifth, Sixth and Seventh Claims for Relief in an

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* _ "s amount to be proved at trial, to be trebled according to law, plus interest, attorneys' fees and costs

e of suit;
E. That the Court award Plaintiffs their costs and prejudgment interest and such
other and further relief as this Court may deem just and proper.

JURY DEMAND

Plaintiffs hereby demand trial by jury of all issues properly triable thereby.

Dated: New York, New York
October 245, 1996

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of suit;

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E. That the Court award Plaintiffs their costs and prejudgment interest and such
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JURY DEMAND
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Plaintiffs hereby demand trial by jury of all issues properly triable thereby.

Dated: New York, New York
October 25, 1996

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